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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-639V
                                      Filed: July 12, 2019
                                        UNPUBLISHED


    MELISSA K. WOINAROWICZ,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Shoulder
    HUMAN SERVICES,                                          Injury Related to Vaccine
                                                             Administration (SIRVA)
                       Respondent.


Richard H. Moeller, Moore, Heffernan, et al., Sioux City, IA, for petitioner.
Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On May 4, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a right shoulder injury related to vaccine
administration (“SIRVA”) following an influenza (“flu”) vaccination administered on
September 22, 2017. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

     On April 12, 2019, a ruling on entitlement was issued, finding petitioner entitled to
compensation for a SIRVA. On July 10, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $87,730.55 consisting

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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of $82,500.00 for past and future pain and suffering, and $5,230.55 for documented
past unreimbursable expenses. Proffer at 1. In the Proffer, respondent represented
that petitioner agrees with the proffered award. Id. Based on the record as a whole, the
undersigned finds that petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $87,730.55 (consisting of $82,500.00 for past
and future pain and suffering, and $5,230.55 for past unreimbursable expenses) in
the form of a check payable to petitioner, Melissa K. Woinarowicz. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                               OFFICE OF SPECIAL MASTERS

MELISSA K. WOINAROWICZ,

                           Petitioner,
                                                       No. 18-639V
               v.                                      Chief Special Master Dorsey
                                                       ECF-SPU
SECRETARY OF HEALTH AND
HUMAN SERVICES,

                           Respondent.


                    RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On May 4, 2018, Melissa K. Woinarowicz (“petitioner”) filed a petition for vaccine injury

compensation alleging that she suffered a right shoulder injury related to vaccine administration

(“SIRVA”), a Table injury, following receipt of an influenza (“flu”) vaccination administered on

September 22, 2017. Respondent filed his Rule 4(c) Report conceding entitlement to

compensation on April 11, 2019. The Chief Special Master issued a Ruling on Entitlement on

April 12, 2019.

          I.         Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

a total of $87,730.55, consisting of $82,500.00 for her past and future pain and suffering and

$5,230.55 for documented past unreimbursable expenses. This represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner

agrees.


1
   Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future damages.
                                                  1
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         II.    Form of the Award

         The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $87,730.55 in the form of a check payable to petitioner. 2

Petitioner agrees.

                                               Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               C. SALVATORE D’ALESSIO
                                               Acting Director
                                               Torts Branch, Civil Division

                                               CATHARINE E. REEVES
                                               Deputy Director
                                               Torts Branch, Civil Division

                                               HEATHER L. PEARLMAN
                                               Assistant Director
                                               Torts Branch, Civil Division

                                               s/Lisa A. Watts
                                               LISA A. WATTS
                                               Senior Trial Attorney
                                               Torts Branch, Civil Division
                                               U.S. Department of Justice
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                                               Benjamin Franklin Station
                                               Washington, D.C. 20044-0146
                                               Tel.: (202) 616-4099

DATED: July 10, 2019




2
    Petitioner is a competent adult. Proof of guardianship is not required in this case.
                                                 2
